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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

SANDRA FORTIER and PAUL OLSON,
on behalf of O.O., a minor child,

       Plaintiffs,

v.                                                                   Civ. No. 16-482 SCY/WPL

NEW MEXICO HUMAN SERVICES
DEPARTMENT; NEW MEXICO
DEPARTMENT OF HEALTH; BRENT
EARNEST, Secretary, New Mexico Human
Services Department, in his official capacity;
LYNN GALLAGHER, Acting Cabinet
Secretary, New Mexico Department of
Health, in her official capacity; CATHY
STEVENSON, Director, Developmental
Disabilities Supports Division of the New
Mexico Department of Health, in her official
capacity; NANCY SMITH-LESLIE, Director,
Medical Assistance Division of the New
Mexico Human Services Department, in her
official capacity,

       Defendants.

                         MEMORANDUM OPINION AND ORDER

       In their motion for partial reconsideration (Doc. 26), Plaintiffs Sandra Fortier and Paul

Olson ask the Court to reconsider the portion of its ruling in which the Court dismissed

Plaintiffs’ claims predicated on 42 U.S.C. § 1396n(c)(2)(C), one of the freedom of choice

provisions of the Medicaid Act, 42 U.S.C. § 1396 et seq. See Doc. 22 (Memorandum Opinion

and Order on Motion to Dismiss). For the reasons stated below, the Court will deny the motion.

I. Standard of Review

       Plaintiffs moved for reconsideration of the Court’s April 10, 2017 Memorandum Opinion

and Order pursuant to Fed. R. Civ. P. 59(e) or the Court’s inherent discretionary power. Doc. 26


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at 7-8. As Defendants point out, strictly speaking, Rule 59(e) is not directly applicable here

because the decision Plaintiffs ask the Court to reconsider was not a final order or judgment. See

Fed. R. Civ. P. 59(e) (“A motion to alter or amend a judgment must be filed no later than 28 days

after the entry of the judgment.”) (emphasis added); see also Guttman v. New Mexico, 325 F.

App’x 687, 690 (10th Cir. 2009) (“Rule 59(e) does not apply because the court’s order was not a

final judgment . . .”) (unpublished). Instead, Plaintiffs’ motion to reconsider is a motion to revise

an interim order under Fed. R. Civ. P. 54(b). Rule 54(b) provides that “any order or other

decision, however designated, that adjudicates fewer than all the claims or the rights and

liabilities of fewer than all the parties does not end the action as to any of the claims or parties

and may be revised at any time before the entry of a judgment adjudicating all the claims and all

the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b). A district court possesses broad

discretion to review interlocutory matters under this standard. Rimbert v. Eli Lilly & Co., 647

F.3d 1247, 1251 (10th Cir. 2011).

       Nonetheless, the Tenth Circuit has indicated that a district court faced with a Rule 54(b)

motion to reconsider may use the standards for reviewing a motion to alter or amend a judgment

under Fed. R. Civ. P. 59(e) to guide its analysis. Ankeney v. Zavaras, 524 F. App’x 454, 458

(10th Cir. 2013) (unpublished). Under the Rule 59(e) standards, a court may grant a motion for

reconsideration in three circumstances: when there is “an intervening change in the controlling

law, the availability of new evidence, or the need to correct clear error or prevent manifest

injustice.” Brumark Corp. v. Samson Res. Corp., 57 F.3d 941, 948 (10th Cir. 1995). A motion to

reconsider is not an opportunity “to revisit issues already addressed or advance arguments that

could have been raised earlier.” United States v. Christy, 739 F.3d 534, 539 (10th Cir. 2014). In

other words, a motion to reconsider should do more than simply restate the position that was



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unsuccessfully advanced by the party in the initial motion, and should not present new arguments

that could have been raised in the initial motion.

        Because the Court set forth the facts underlying Plaintiffs’ claims in its prior decision

(Doc. 22), the Court will not repeat those facts in this Order.

II. Analysis

        Plaintiffs argue that Defendants, in getting their DD Waiver application approved,

committed a “bait and switch.” Specifically, they assert that Defendants represented to the

Department of Health and Human Services (“HHS”) that they would provide Home and

Community-Based Services (HCBS) to individuals with conditions related to intellectual

disability (“ID”). Doc. 26 (hereinafter “Mot.”) at 5. According to Plaintiffs, after HHS approved

Defendants’ application, Defendants then impermissibly devised a definition of “related

condition” that differs from the federal definition – the state definition looks to an individual’s

diagnosis whereas the federal definition looks to an individual’s functional capacity. Id. at 9-12.

Plaintiffs argue that, in considering Defendants’ application, HHS would have relied on the

federal definition rather than the not-yet-devised state definition and, therefore, the program

HHS approved is different than the one in effect. Id.

        Plaintiffs do not argue, however, that the Court should strike down the state’s DD Waiver

program as invalid. To the contrary, they candidly acknowledge that states have wide latitude in

defining the parameters of their waiver programs.1 Mot. at 9; see also Doc. 22 at 12 (“the State

has great discretion in developing its waiver programs, including setting eligibility requirements

and limitations for waiver services.” (quoting Lewis v. N.M. Dep’t of Health, 275 F.Supp.2d

1319, 1345 (D.N.M. 2003)). Instead, they argue that the Court should require Defendants to use


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  Notably, this case does not concern whether HHS would have approved the program as it currently exists – given
the wide latitude States have in developing their own programs, HHS likely would have.

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the federal definition of “related conditions” and allow O.O. to demonstrate that she is eligible

for DD Waiver services because her functional capacity is similar to an individual with ID. See

Mot. at 7, 10, 14. One avenue through which Plaintiffs seek this result is 42 U.S.C. §

1396n(c)(2)(C), one of the Medicaid Act’s “freedom of choice” provisions.

       The freedom of choice provision in § 1396n(c)(2)(C) provides that:

       A waiver shall not be granted under this subsection unless the State provides
       assurances satisfactory to the Secretary that . . . such individuals who are
       determined to be likely to require the level of care provided in a hospital, nursing
       facility, or intermediate care facility for the mentally retarded are informed of the
       feasible alternatives, if available under the waiver, at the choice of such
       individuals, to the provision of inpatient hospital services, nursing facility
       services, or services in an intermediate care facility for the mentally retarded.

As the Court explained in its previous Order, this provision requires the state to provide

information as to feasible home and community-based alternatives “if available under the

waiver.” See Doc. 22 at 10. Corresponding federal regulations clarify that the state must provide

not only this information, but also the opportunity to choose between the available services. Id.

For purposes of its discussion here, the Court will assume – as Plaintiffs argue – that §

1396n(c)(2)(C) provides a privately enforceable right to choose among available HCBS waiver

services. While Plaintiffs may have a legitimate gripe with Defendants’ definition of related

conditions and its divergence from the federal definition, § 1396n(c)(2)(C) does not provide a

mechanism to order the state to substitute the federal definition for the current state definition. In

arguing otherwise, Plaintiffs principally rely on two cases. These cases, however, are

distinguishable and ultimately fail to support Plaintiffs’ position.

       The first case is Guggenberger v. Minnesota, 198 F.Supp.3d 973 (D. Minn. 2016).

Guggenberger allowed a § 1983 claim to go forward under § 1396n(c)(2)(C) when the plaintiffs

were deemed eligible for waiver services but had been placed on a wait list. See 198 F.Supp.3d at



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1018. Despite the existence of permissible caps on services and the need to reserve some waiver

funds in case of emergency, the plaintiffs had plausibly alleged a claim under § 1396n(c)(2)(C)

by stating that waiver services were available because more funds had gone unused than were

reasonably necessary for reserves. See id. at 1015-16.

         The question of whether a state violates § 1396n(c)(2)(C) by not applying approved funds

to services for eligible individuals is much different than the question of whether this provision

compels states to provide services to individuals who are not eligible for them under state

regulations. Rather than dealing with the issue of eligibility for services, Guggenberger

determined that the plaintiffs in that case were “not being offered the choice to receive such

services due to Defendants’ mismanagement of the State’s Waiver Services Program.” Id. at

1018. In holding that “eligible individuals . . . [m]ust be given the choice of either institutional or

home and community-based services,” the court presumed that the plaintiffs seeking services

were eligible for those services. Id. at 1017. In contrast, as Plaintiffs acknowledge, application of

the definition of “related condition” found in current state regulations disqualifies O.O. from

eligibility for the DD Waiver. See Mot. at 7. Further, Plaintiff cites to no case in which

§ 1396n(c)(2)(C)was used to compel a state to alter its definition of who is eligible for the state’s

HCBS waiver program.2

         The second case Plaintiffs rely on, Doe v. South Carolina Department of Health and

Human Services, 727 S.E.2d 605, 611 (S.C. 2011), is also inapposite. Doe involved an

administrative appeal in which the South Carolina Supreme Court reversed the agency decision

denying waiver services after concluding that the agency had impermissibly limited eligibility.

However, the eligibility limitations in Doe were imposed according to an informal agency policy

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 One avenue to challenge the state’s definition of “related conditions” would be to oppose it prior to its adoption.
As the Court noted in its previous Order, that the State complied with the public comment period and other required
procedures before enacting 8.290.400.10B NMAC is not in dispute. See Doc. 22 at 19.

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that was not only omitted from the state’s HCBS waiver application, but that was also in direct

conflict with the state’s promulgated regulations. Id. at 610-11. The South Carolina Supreme

Court rejected the plaintiff’s argument that the federal definition was automatically binding on

the state. Although it determined that the HCBS waiver application defined eligibility criteria, it

also noted that the state might interpret those general criteria by regulation. Id. Because the

state’s regulations echoed the federal definition, the Doe Court held that narrowing the criteria

by informal policy was error and ordered the agency to reconsider its decision. Id. at 611. Thus,

Doe did not deal with a conflict between a federal definition and a definition found in a formally

enacted state regulation. Unlike Doe, no evidence exists in the present case that the state

regulation at issue (here, 8.290.400.10B NMAC) conflicts with a definition from a higher state

authority. Thus, even if the Court adopted the rationale applied in Doe, this rationale would not

require the Court to replace a definition found in a formally enacted state regulation with a

broader definition found in a federal regulation.

       In sum, the Court concludes that § 1396n(c)(2)(C) does not provide an avenue for

Plaintiffs to bring a § 1983 action under which the Court may replace a state’s definition of

“related condition” with a federal definition and thereby expand the scope of eligibility for the

state’s waiver program. Plaintiffs might challenge the regulatory definition as part of their

administrative appeal, which the Court did not dismiss, but they have not stated a claim under the

Medicaid Act.

       IT IS THEREFORE ORDERED that Plaintiffs’ Motion for Partial Reconsideration

(Doc. 26) of this Court’s April 10, 2017 Memorandum Opinion and Order is DENIED.


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                                              UNITED STATES MAGISTRATE JUDGE
                                              Presiding by Consent

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